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Michael J Brosnahan
21 Hummingbird Circle
Sedona Az. 86336
mtk63@h0tmail.c0m
(928) 300-6030

 

 

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UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA - PRESCOTT DIVISION

MICHAEL J BROSNAHAN, pro per
Consumer Claimant
Plaintiff

vs.

"Debt Collector"

CALIBER HOME LOANS Inc. and its agents,
LSF9 MASTER PARTICIPATION TRUST
and SUMMIT SERVICE AND REALTY LLC
and/or REAL PARTY(S) IN INTEREST

Defendant

 

 

CASE NO; CV CV~l6-08277-PCT~DLR

Assigned to Honorable

Pursuant to Plaintiff’ S Application for Emergency Restraining Order and Motion for

Injunctive Relief on file herein, and good cause appearing therefore,

IT IS HEREBY ORDERED that Defendants are immediately forbidden and restrained

from taking any further action against Consumer Clairnant Plaintiff MICHAEL J BROSNAHAN,

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Defendants are ordered that they are not to sell, assign, transfer, or convey Plaintiff’ S real property
located at 21 Hurnmingbird Circle, Sedona, Az. 86336-7012. Parcel Nurnber: Lot 33 of Chapel
Bell Estate Unit 4, According To Case 2 Maps, Page 324, Records Of Coconino County, Arizona,
APN NO 401-54046, until further order of this Court.

Hearing is set for:

 

DONE lN OPEN COURT THlS DATE:

 

 

Judge of UNITED STATES DISTRICT COURT

 

MICHAEL J BROSNAHAN, pro per

 

 

 

